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Stipulation

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

ln re: Chapter ll

ESSAR STEEL MINNESOTA LLC and Case NO_ 16-11626 (BLS)
ESML HOLDINGS INC.,‘
(Jointly Administerecl)
Debtors.

 

SC MESABI LITIGATION TRUSTEE,

Plaintiff, Adv. Proc. No. 18-50555 (BLS)

V.

CENTRAL BANK OF TNDIA, AND EXPORT
IMPORT BANK OF INDIA,

Defendants Re: Adv. Docket Nos. 10 and 15

 

 

STIPULATION REGARDING TRUSTEE’S FUR'I`HER
EXTENSION OF TIME TO OBJECT TO THE MOTION TO DISMISS

This Stipulation Regardr`ng Trustee ’s Further Extension of Time to Respond to the Motion
to Dr'smiss (the “Stigulation”) is made as of January 17 , 2019, by and among Bradlcy E. Scher, in

his capacity as Litigation Trustee ofthe SC Mesabi Litigation Trust (the “Trustee”), and the Central

 

Bank of India and the Export-lmport Bank of India (together, the “Bpp_li§r_§Mgl;§” and
together With the Trustee, the “ELieS”).
RECITALS
WHEREAS, on June 20, 2018, the Trustee filed a complaint initiating the above-captioned

adversary proceeding against the Supplier Crcdit Lenders [Adv. Docket No. l];

 

' The last four digits of Essar Steel Minnesota LLC’s federal taxpayer identification number are 8770. The last four
digits of ESML Holdings lnc.’s federal taxpayer identification number are 8071.

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WHEREAS, on November 5, 2018, the Supplier Credit Lenders filed the Defendants
Central Bank of Indz'a and Export Import bank of Indz'a ’s Motion to Dt`smiss the Complaint [Adv.
Docket No. iO] (the “Motion to Dismiss”);

WHEREAS, pursuant to the Court’s Order Approving Slipulation Regardl`ng Trustee's
Extension of Time to Object to the Motion to Dismiss [Doeket No. 15], the time to object to the
Motion to Dismiss was set as December 19, 2018 (the “Ob'lection Deadline”);

WHEREAS, during the period before and after the Objection Deadline, the Parties
engaged in settlement discussions in an effort to resolve all matters related to this action but have
been unable to reach an agreement to date;

WHEREAS, the Parties have agreed, as set forth herein, that the Trustee’s deadline to
object or respond to the Motion to Dismiss shall be extended through and including March l, 2019;

NOW, THEREFORE, in consideration of the foregoing recitals and the mutual promises
hereinafter contained, the Parties, intending to be legally bound, hereby stipulate and agree as
follows:

STIPULATION

i. The Parties agree that, notwithstanding anything to the contrary in the Motion to
Dismiss, the Objection Deadline for the Tnlstec is hereby extended through and including March
l, 2019, which may be further extended by agreement of the Parties.

2. This Stipulation constitutes the entire agreement and understanding between the
Parties with respect to the subject matter hereof. The terms of this Stipulation may not be changed,
amended, modified, or altered except by written agreement signed by each of the Parties or

confirming emails exchanged by counsel to the Parties.

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3. The Parties, by and through their undersigned counsel, each represent and warrant
that the undersigned is fully authorized and empowered to execute and deliver this Stipulation on
behalf of, and to bind, each Party, as applicable, to the terms and conditions of this Stipulation.

4. The Parties have cooperated in the drafting and preparation of this Stipulation.
Therefore, in any construction to be made of this Stipulation, the Stipulation shall not be construed
for or against any Party on that basis.

5. This Stipulation shall be governed by and construed in accordance with the United
States Bankruptcy Code and, where not inconsistent, the laws of the State of Delaware, without
regard to the conflict of laws principles thereof.

6. This Stipulation may be executed in any number of counterparts, and each such
counterpart is to be deemed an original for all purposes, but all counterparts shall collectively
constitute one agreement Further, electronic signatures or transmissions of an originally signed
document by facsimile or electronic mail shall be as fully binding on the Parties as an original
document.

7. The Banl<ruptcy Court shall have and retainjurisdiction to resolve any disputes or
controversies arising from, in connection with, or related to this Stipulation.

8. Notwithstanding the possible application of any Federal Rule of Bankruptcy
Procedure to the contrary, the Order approving this Stipulation shall be in full force and effect

upon its entry.

[Signature Page to Follow]

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Dated: January 29, 2019

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Cozmselfor the Suppll`er Credl`t Lenders

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